Case 1:03-cV-01025-.]DB-tmp Document 50 Filed 07/08/05 Page 1 of 3 Page|D 88

  

 

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UNITED STA TES DISTRICT COURT l {/<C/?/; 3 .
WES TERN DIS TRICT OF TENNESSEE ash/fy p
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:'_w/ -J.,>‘;.,~ Oé./,/{::D
\'/L f 0 0 irOl/T'?
OTTOWAY MURPHY, JUDGMENT IN A CIVIL C&SE?¢,;:§)/qi;
`“ tug/gi
Plaintiff,
v.
CORRECTIONS CORPORAT|ON CASE NO: 1:03-1025-B
OF AMERICA, et al.,
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORI)ERED AND ADJUDGED that in accordance with the Agreed Order Of
Dismissal With Prejudice entered on July 5, 2005, this cause is hereby dismissed with prejudice.

 

'l'H(NASM.GOULD

Clerk of Court

C.DM

(By) Deputy Clerk

 

This document entered on the docket sheet in compfiance

with mile ss and:or_?e (a) FHCP on O'i' | l~ 615

 

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Honorable .1. Breen
US DISTRICT COURT

